       Case 1:21-cv-01229-JPB Document 6 Filed 03/31/21 Page 1 of 4




                 UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

THE NEW GEORGIA PROJECT;
BLACK VOTERS MATTER FUND;
and RISE, INC.,

                  Plaintiffs,             No. 1:21-cv-1229-JPB

      v.

BRAD RAFFENSPERGER, in his of-
ficial capacity as the Georgia Secre-
tary of State; REBECCA SULLIVAN,
in her official capacity as the Vice
Chair of the Georgia State Election
Board; DAVID WORLEY, in his offi-
cial capacity as a member of the
Georgia State Election Board; MAT-
THEW MASHBURN, in his official
capacity as a member of the Georgia
State Election Board; and ANH LE,
in her official capacity as a member of
the Georgia State Election Board,

                  Defendants,

REPUBLICAN NATIONAL COM-
MITTEE; NATIONAL REPUBLICAN
SENATORIAL COMMITTEE; and
GEORGIA REPUBLICAN PARTY,
INC.,

Proposed Intervenor-Defendants.

                        MOTION TO INTERVENE
         Case 1:21-cv-01229-JPB Document 6 Filed 03/31/21 Page 2 of 4




      The Republican National Committee, National Republican Senatorial

Committee, and Georgia Republican Party, Inc. (“Movants”), by and through

undersigned counsel, and pursuant to Rule 24 of the Federal Rules of Civil

Procedure, respectfully move to intervene as defendants in this case. As ex-

plained in the accompanying memorandum, Movants satisfy the requirements

for intervention of right under Rule 24(a)(2) and permissive intervention under

Rule 24(b). Defendants have not yet entered an appearance or expressed a po-

sition on intervention. Plaintiffs object.

      This 31st day of March, 2021.

                                      Respectfully submitted,

                                      /s/ William Bradley Carver, Sr.
                                     John E. Hall, Jr.
Tyler R. Green (pro hac vice         Georgia Bar No. 319090
forthcoming)                         William Bradley Carver, Sr.
Cameron T. Norris (pro hac vice      Georgia Bar No. 115529
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                                     bcarver@hallboothsmith.com
                  Counsel for Proposed Intervenor-Defendants
        Case 1:21-cv-01229-JPB Document 6 Filed 03/31/21 Page 3 of 4




           CERTIFICATE OF SERVICE AND CERTIFICATE
             OF COMPLIANCE WITH LOCAL RULE 5.1
      The foregoing was prepared in Century Schoolbook font, 13-point type,
one of the font and point selections approved by the Court in N.D. Ga. L.R.

5.1(C). I hereby certify that I electronically filed the foregoing MOTION TO

INTERVENE with the Clerk of Court using CM/ECF electronic filing system,
which will automatically send e-mail notification of such filing to the following

counsel of record and serve as follows:

           Halsey G. Knapp, Jr.                        Marc E. Elias*
             Joyce Gist Lewis                        Uzoma Nkwonta*
           Adam Martin Sparks                           Jacob Shelly*
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                                                    Counsel for Plaintiffs
                                             *Motions for Pro Hac Vice Forth-
                                                           coming
        Case 1:21-cv-01229-JPB Document 6 Filed 03/31/21 Page 4 of 4




     This 31st day of March, 2021.



                           [signature on next page]
                                    /s/ William Bradley Carver, Sr.
                                   John E. Hall, Jr.
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forthcoming)                       William Bradley Carver, Sr.
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